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             EXHIBIT 3
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1    Call date:          9/15/18

2    Duration: 18:00

3    Call Begin: [ ] Call End [ ]

4    Call Participants:

5            Rick Singer

6            John LNU

7    File Name:          9163848802 2018-09-15 13-04-26 08137-001

8    Bates No.:

9

10   _:      [00:00] Good morning.

11   SINGER:       Good morning (inaudible).

12   LNU: Hello, Rick.

13   SINGER:       Hey, John.

14   _:      (inaudible) how you doing?

15   LNU: How you doing?

16   SINGER:       Good.     How you doing?

17   LNU: Hey, you at a game?

18   SINGER:       No, no.     I'm just leaving somewhere.

19   LNU: OK.      [laughter]      Hey, what's the best way for us to put

20           together a structured relationship for the girls and, uh,

21           you know, get some -- you know, let's say regular advice

22           or at least some periodic advice for them as they go

23           through the search process and they're trying to identify

24           majors --
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1    SINGER:      So --

2    LNU: -- in schools and all that.

3    SINGER:      So we just need -- you decide that that's what you

4         want to do.     You want to go forward then --

5    LNU: Yeah.

6    SINGER:      -- I will -- I will meet with the kids via Skype or

7         Facetime, um, every 4 weeks and, uh, if they need help in

8         between they can cal me or text me or whatever and

9         that'll be it.

10   LNU: OK, that sounds good.      And, uh, what's the fee for that?

11        How does that work?

12   SINGER:      So are we going to do any, um, test prep [01:00]

13        stuff with them?

14   LNU: Uh, potentially.       I -- I don’t know.    They've done a lot

15        of test prep already.      You -- did you see -- you saw the

16        test scores, right?

17   SINGER:      Yeah.

18   LNU: And they were from like a year ago.

19   SINGER:      (inaudible).

20   LNU: They were when they were freshmen so they're pretty --

21        you know, they're pretty good scores already.           I assume

22        they're going to get better now that they're juniors.

23   SINGER:      So that's a question for you.      So are we going to

24        help them prepare for -- so they get the right -- they
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1         get the -- the best scores and on the subject tests, too?

2         Or are we just -- am I just going to work with them, uh,

3         every 4 weeks?

4    LNU: The -- oh, I don’t know, I think the scores, too.           How

5         does that -- what's the difference in price (inaudible)

6         going to work with somebody local on that?          How does that

7         work for you guys to do something on the test prep?

8    SINGER:      So what we do is we just have somebody -- one of my

9         better people Skype with them every week and they work

10        with -- on the testing with them every week and then they

11        have homework in between and then I -- I see them every

12        fourth week.

13   LNU: OK.   I feel like it makes sense.       I got to make sure it's

14        doable from their schedule and all that stuff.           But, uh,

15        that probably [02:00] makes sense, too, yeah.

16   SINGER:      OK.   So -- so the difference is -- one is $8,000

17        annually and one's $5,000 annually.

18   LNU: OK.   I'll go for the full Monty, yeah.

19   SINGER:      It's up to you.   Whatever you guys want.

20   LNU: Yeah.    Let's -- let's try the full Monty and -- and try

21        to make sure...     Well, I got to, you know, make sure it

22        works for them but, uh, we can pay for it and if it

23        doesn't work I guess (inaudible) yeah, just not do it.            I

24        just worry about their overall schedule.          But they'll
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1         make it flexible, right?       You guys are not on the West

2         Coast always or...      Are you guys spread out?      Or that

3         would help them do the test prep?

4    SINGER:    I could-- could you say that again, John?

5    LNU: In terms of the guys who would help on the test prep, is

6         that something that is -- like they're based on the East

7         Coast or West Coast or -- just in terms of timeline.

8    SINGER:    OK.     They're based on both and they can make the

9         time.   The is--

10   LNU: OK.

11   SINGER:    I mean, they're -- they're doing it with kids all

12        over the country and it's been pretty (inaudible).

13   LNU: OK, great.     So you've got the logistics down.        OK.

14   SINGER:    Yeah.

15   LNU: So logistics work.

16   SINGER:    Yeah.

17   LNU: OK, super.     That's good to hear.     And I'd love to have a

18        -- a game plan and kind of overall strategy session with

19        you up front with them, (inaudible) how do we think about

20        visiting schools and how do we think about that stuff,

21        [03:00] how do we think about the extracurricular, you

22        know, the whole clue or whatever, et cetera.

23   SINGER:    Right.    So we can -- we can definitely set that up.

24        Um, because they're both probably different because of
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1         their circumstances, right, and they're probably -- are

2         they -- yeah, right.      Are they going to be going to the

3         same schools or are they looking at separate schools?

4    LNU: Uh, probably looking at separate schools but there'll

5         probably -- I imagine be a lot of overlap, too.           You

6         know, they'd love to go to, you know, some top school.             I

7         think right now they're leaning a little bit more

8         towards, you know, science and engineering, which is

9         great.   I think that the -- you know, great for gals who

10        are good in science and engineering and math.

11   SINGER:    And do you -- and, I mean, do we have like schools

12        in mind that they're thinking about?

13   LNU: Uh, they've mentioned (inaudible) they don’t really know.

14        Maybe undecided.     I think         's looking at, you know,

15        the top schools.     Whether that's Ivy or whether that's,

16        you know, the kind of, you know, the Cornells or the

17        Princeton's for engineering or that kind of stuff, she

18        could.   She'd love to get into those top schools.          Then

19        there's a second --

20   SINGER:    (inaudible).

21   LNU: I mean, I have to look at the secondary school.

22   SINGER:    Yes.   Yeah.   [04:00] To get into engineering in

23        those schools she's got to have perfect grades, perfect

24        score.
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1    LNU: You need perfect grades you think?         Yeah.

2    SINGER:    And perfect score on the subject test and SATs.             I

3         mean, you've got to be -- be in engineering, you've got

4         to be 1550 plus and you've got to be 800 in the math on

5         the subject test and at least 780 on the, um, science

6         subject test, as well.      So that's if you want to apply in

7         those -- in those majors.

8    LNU: OK.   Uh, and if you want to be applying in, uh, other

9         majors like science or something like that or math or...?

10   SINGER:    Science -- science is the same thing.

11   LNU: (inaudible).

12   SINGER:    They're all -- they're all the same unless you're

13        applying --

14   LNU: (inaudible).

15   SINGER:    Unless you're applying in humanities.

16   LNU: OK.   What if you want to go into like business or is that

17        considered humanities?

18   SINGER:    Um, it's less than.      I mean, you know that the Ivies

19        potentially post -- you know, Princeton, Yale, Harvard,

20        none of them have undergraduate business programs.

21        They're all econ.

22   LNU: Yeah, economics.     Yeah, economics or some schools [05:00]

23        have business but not the Ivies, right.

24   SINGER:    Only Penn does.
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1    LNU: In the Ivies, right.      But they --

2    SINGER:    Yes.

3    LNU: But they (inaudible) they want to (inaudible) second tier

4         schools, as well, (inaudible) Boston Colleges and

5         Georgetowns and (inaudible) second tiers --

6    SINGER:    They -- they -- they all have -- they have pre--

7         they have -- BC, Georgetown, um, you know, Northwestern

8         is -- does not -- Duke does not.        Um, Emory does.     So it

9         just depends on where they want to go to school.

10   LNU: Yeah, they like west -- either East Coast or West Coast I

11        think is what they're looking at.        So West Coast they'd

12        love to be everything from USC to UCLA to Stanford, you

13        know, kind of stuff.      Um...

14   SINGER:    So --

15   LNU: And those are obviously top-notch, too, right?

16   SINGER:    Right, right.     So, you know, back to the, uh...          And

17        we'll try and (inaudible).

18   LNU: Well, they only have a 32, whatever, on the ACT or

19        whatever the hell that thing is called.         But that was as

20        a freshman.    That's not bad, I guess, but, you know, it's

21        not a 35 or 6.

22   SINGER:    No, that's good.     Right.    And that's what it's going

23        to take to even play in the game [06:00] on their -- on

24        their own, right.
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1    LNU: Right.

2    SINGER:    If you said -- and you know that -- that if you said

3         you wanted to go somewhere like Stanford or Harvard or

4         Yale and go through a different door, you can do that.

5         But to go in directly you've got to be -- just to play

6         you've got to be 35, 36 plus essentially perfect grades

7         and then you've got to have subject test scores in the

8         mid-700s.

9    LNU: Right.   OK.   Well, that's good, uh, good general

10        direction.     And then on the, um -- the other doors, you

11        have certainly things like crew.        Can they try that?        Is

12        that still your -- your number one differentiator?           If

13        they had a really good time, they could work on that and

14        get a time of X, that might be a second door.           Or you

15        have the other door, where, you know, you can, you know,

16        make a contribution kind of thing.

17   SINGER:    Yeah.    So we -- we're -- that's why I'm going to

18        Harvard next Friday, because the president wants to do a

19        deal with me [07:00] because he found out that I've

20        already got 4 already in without his help.          So he's like,

21        "How about -- why would you go to somebody else if you

22        could come to me?"       I said, "Well, I didn't know I could

23        come to you."     Huh.
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1    LNU: That's funny, yeah.     I knew       .         used to be on our

2        board but she's gone now.       I don't know this new guy.

3        But, uh...

4    SINGER:     Yeah.

5    LNU: So what kind of deals is it there?        Is it like, you know,

6        (inaudible) water polo, and a donation?          Or what is it

7        like, you know, to get into that?

8    SINGER:     So where was -- so pick a place you want to go.

9    LNU: So if you said, uh, HP -- uh, Harvard (inaudible).           But

10       if you said Harvard or Princeton or Georgetown, you know,

11       what are those things?

12   SINGER:     So Harvard -- Harvard is, uh...      It's usually about

13       1.2.

14   LNU: Jesus.

15   SINGER:     Stanford is 1.2.    Um, but, you know, the backdoor is

16       -- Harvard's asking for 45 million.

17   LNU: [laughter]      God.

18   SINGER:     Stanford's asking for 50 million.       [08:00]

19   LNU: Wow.

20   SINGER:     And they're getting it.     That's the crazy thing.

21       They're getting it from the Bay Area and from New York.

22       Crazy.

23   LNU: Wow.

24   SINGER:     Crazy.    Absolutely crazy.   (inaudible).
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1    LNU: What about -- what about like Georgetown or, uh, those

2        other ones or, yeah?

3    SINGER:     Yeah.    So Georgetown's like 500.     BC's the same

4        thing.    Um, so -- you know, those are your -- kind of

5        your numbers across the board at different places.              You

6        know, USC hasn't changed.         Um, UCLA can be done for about

7        3.    Um, you know, public schools are really hard in

8        California because everybody's watching them.

9    LNU: Mm-hmm, mm-hmm.

10   SINGER:     But...

11   LNU: So (inaudible) the sports angle and, you know, 3 and UCLA

12       or something?

13   SINGER:     Yes, yes.   Yes.   Yes.    So I'm doing -- now we're

14       doing -- John, this is how crazy it's gotten.           We're

15       doing -- I'm going to do over 730 of these [09:00] side

16       doors this year.

17   LNU: Wow.   And how many schools are you doing those at now?

18       It's like just the top 20 or 50 or is it more than that?

19   SINGER:     Uh, it's, you know, 50 to 60 different schools.

20   LNU: So 50 or 60.     OK.

21   SINGER:     Yes.

22   LNU: And in terms of engineering schools, uh, what are the

23       best ones these days?       MIT, do they have a side door?
